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% A 0 245B    (Rev. 06105) Judgment in a Criminal Case                                 #416
              Sheet I




                          SOUTHERN                                                   District *:'€                                     ILLINOIS

         UNITED STATES OF AMERICA                                                           JI.'DGMENT IN A CRIMINAL CASE
                                        v.
                    TERRY W. CRIPPS                                                         C i ~ j Number:
                                                                                                    e                4:06CR40004-003-JPG

                                                                                            U:!M Number: 07271-025
                                                                                              JI: lin Delaney
                                                                                            -.,.

THE DEFENDANT:
                                                                                             Df 1:ldant's Attorney
                                                                                                                                       mED
Mpleaded guilty to count($)                    1 of the Fourth Superseding                     ...                                     - 1
                                                                                                                                        #.




  pleaded nolo contendere to count(s)                                                          .,.                             -CI F

  which was accepted by the court.
                                                                                                                                               DISTRICT OF ILLINOIS
  was found guilty on count(s)                                                                 ...                                           BENTON OFFICE
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                              Nature of Offense                                                                  Offense Ended                    Count
                                                                        ..                                                                                        ,, .           .
    s                 .       '   'I'   .:. :C&&@$+$?O M & w ~ r e & r ~ l s t r i $ ( e gwms or mim
                                                     6.   I.   (1   '



                                                                                                      MK,                        9/1&2)n0&3          '.          ,I$&@   "
                                                                                                                                                                             ,
                                                                                                                                                                             '$2


              ,, , ,, ' . .                         a,s!;,.$
                                                <<:..-_        "
                                                                                               ]ill                    ,i
                                                                                                                                                                         ,iu '
       The defendant is sentenced as provided in pages 2 through                                 '0          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)                                         ...
   Count(s)                                                                     is       are d~::nissedon the motion of the United States.

         It 1s ordered that the defenrlant must notify the United Swtcs artc.'l.ey for this distnct w~thin30 da 5 of any change of namc, res~dencc,
or maillngaddres, untll all fines, rcsritution,costs, and special assFssmenti ~mposedby this judgment arc fufiy paid. Ifordered to pay restitution,
~ h defendant
    c           must noufy the coun and lln~tedStates anomey of materl;. :hanger in econonuc circumstances.

                                                                                            -...
                                                                                              61?12007
                                                                                             Dall ~f lmoosition of Judgment




                                                                                            -...
                                                                                              J :'hi1 Gilbert
                                                                                             Naut ofJudge
                                                                                                                                                 District Judge
                                                                                                                                                Title of Judge
                                                                                             f\             /
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                Sheet 2 -Imprisonment


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         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  240 Months on Count 1 of the Fourth Superseding Indictment




      @ The court makes the following recommendations to the Bureau ,:,I
                                                                      Prisons:

  That the defendant shall be placed in the Intensive Drug Treatnwnt Program



      @ The defendant is remanded to the custody of the United States hl.~rshal.
           The defendant shall surrender to the United States Marshal for tl. !: district:

                  at                                     a.m.         p.m.      on
                  as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the insti11;:iondesignated by the Bureau of Prisons:
           [7     before 2 p.m. on
                  as notified by the United States Marshal.
                  as notified by the Probation or Pretrial Services Office.


                                                                      RETUI;LN
 I have executed this judgment as follows:




           Defendant delivered on                                              ...           to

 at                                                     , with a certified copy i f this judgment.


                                                                                                        UNITED STATES MARSHAL


                                                                              8,
                                                                                                     DEPUTY UNITED STATES MARSHAL
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              Sheet 3 - Superv~sedRelease
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 DEFENDANT: TERRY W. CRIPPS
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                                                         SUPERVISED IRELEASE
 Upon release from imprisonment, the defendant shall be on supervised r~.leasefor a term of :

  10 years on Count 1 of the Fourth Superseding Indictment.



      The defendant must report to the probation office in the district to '.rhich the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime
 The defendant shall not unlawful1 possess a controlled substance. The :efendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall su%mitto one drug test within 15 days o1'release from imprisonment and at least two periodic drug tests
 thereafter, as detemuned by the court.
        The above drug testing condition is suspended, based on the court'; determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 B( The defendant shall not possess a fnearm, ammunition, destructivt device, or any other dangerous weapon. (Check, if applicable.)
 B( The defendant shall cooperate in the collection of DNA as directed ' ~ the
                                                                            y probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registratior, ngency in the state wbere the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicabh:.l
        The defendant shall participate in an approved program for domes,:I: violence. (Check, if applicable.)
     If this 'udgment imposes a fme or restitution, it is a condition of siijlervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of this judgment.
      The defendant must comply with the standard conditions that have ~ e e nadopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIO?iS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the perrirssion of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall subn:~.!a truthful and complete written report within the fust five days of
           each month,
   3)      the defendant shall answer truthfully all inquiries by the probati~:~~
                                                                              officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unle!:; excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days [i:ior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and sh;ill not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any cootro1l::cl substances, except as prescribed by a phys~c~an;
   8)      the defendant shall not frequent places wbere controlled substanz:i,sare illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in crirrlinal activity and shall not associate with any person convicted of a
           felony, unless granted pernnsslon to do so by the proiation ofticti-;
  10)      the defendant shall permit a probation officer to visit him or her :a1 any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officeq
  11)      the defendant shall notify the probation officer within seventy-tn.: hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an u~l:~rmer
                                                                                or a special agent of a law enforcement agency without the
           pernnssion of the court; and
  13) as directed hy the robation officer, the defendant shall notify thi1.1panics of rlsks that may be occasioned by the deicndant's crlrnln31
      record or personay history or characteristics and shall pcnnit 11,: probauon ofiicer to nukc such notifications and to confirn~the
      dcfrndant s compllancc wlth such notlficatlon requlrenient.
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           Sheet 3C - Supervised Release                        #419
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                                        SPECIAL CONDITIOPI !i OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as dir~tctedby the probation officer.

 X The defendant shall pay any financial penalty that is impose^: Iby this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defenclmt shall pay the fine in installments of $15.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Finisncial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defentfimt is advised that the probation ofice may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tar: refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by die probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis trr other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. 14ny participationwill require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs asz;etr:iated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United Stales Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X Defendant shall submit within 15 days, not to exceed 52 test!; in a one year period for drug urinalysis.
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                           Judgment in a Criminal Case    Document 175 Filed 06/15/07                              Page 5 of 6         Page ID
             Sheet 5 C r i m i n a l Monetary Penalties             #420
                                                                                                                                      5
 DEFENDANT: TERRY W. CRIPPS
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                                                 CRIMINAL MONEl'rl,RY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment                                             -
                                                                                 Fine                                   Restitution
 TOTALS                 $ 100.00                                             $ 200.00                               $ 0.00



        The determination of restitution is deferred until       -. An Anltwded Judgment in a Criminal Case(A0 245C) will be entered
        after such determinahon.

        The defendant must make restitution (including community restituti:,n) to the following payees in the amount listed below,

        If the defendant makes a partial payment, each pa ee shall receive i~i approximately ro ortioned ayment, unless specified otherwise
        the priority order or percentage payment columnxelow. Howeve, pursuant to 18 31s.E.5 36646), all nonfederal vlctnns must be p a ~ d
        before the United States n pa~d.

 Name of Pavee                                                                   rplilLLBL*            Restitution Ordered Prioritv or Percentas
    I   ,.   .   I   .,I..

              1 I                                                 . , 4
                                                             ,     8 ,




 TOTALS                                 $                           0.00             !i.                      0.00


         Restitution amount ordered pursuant to plea agreement $

         The defendant must pay interest on restitution and a fine of more ban $2,500, unless the restitution or fme is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C 1 3612(0. All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. 9 .:'512(g).

 81 The court determined that the defendant does not have the ability I: pay interest and it is ordered that:
         @( the interest requirement is waived for the                    fine        ,:stitution.
             the interest requirement for the             fme               restitutiotb is modified as follows:


 * Findings for the total amount of losses are re uired under Chapters 109." . 110,l IOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before Apr1l23, 1998.
.A..
   n...-
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           (Rev
           \ - - - ..
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           Sheet 6     Schedule of Payments                            #421
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                                                             SCHEDULE OF' PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total cri~i~inal
                                                                              monetary penalties are due as follows:

 A    l;d Lump sum payment of $                                    due immeditir r l y, balance due

                  not later than                                        Or
                  in accordance                      C,       D,   IJ    E, or     :I F below; or
 B         Payment to begin immediately (may be combined with                    1 ,          D, or   F below); or

 C         Payment in equal                    (e.g., weekly, monthly, clrtarterly) installments of $                      over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment inequal                     (e.g., weekly, monthly, clllarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commen(:l within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on i : assessment
                                                                          ~          of the defendant's ability to pay at that time; or
 F         Special instructions regarding the payment of criminal monet1:y penalties:
            While on supervised release, the defendant shall make1 nonthly payments in the amount of $15.00 or ten percent
            of his net monthly income, whichever is greater, toward his fine.




 Unless the coun has cxprcssl ordered otherw~sc,if this judgment mnipost: ~mprisonment, a ment of crimlnal monetary pcnalues 1s due durin
 impnsonment. All crlmlnaYmoneta penalrles, except those paymet l i made througR'tie Federal Bureau of Prlsonb' Inmate Financia?
 Kcsponsibiliq Program, arc made to $e clerk of the coun.

 The defendant shall receive credit for all payments previously made tolri i:rd any criminal monetary penalties imposed.



      Joint and Several

                                                                1, defendant number), Total Amount, Joint and Several Amount,
      Defendant and Co-Defendant Names and Case Numbers (includi~~
      and corresponding payee, if appropriate.




      The defendant sball pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the followin]! property to the United States:




 Payments shall be applied in the following order: (1 assessment, (2) rerlitution principal, (3) restitution interest, (4) fine principal,
 (5) fme interest, (6) community restitution, (7) penalties, and (8) costs, ~iicludingcost of prosecut~onand court costs.
